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                                                               FILED
                                                     JUDGMENT ENTERED
                                                           August 18, 2005
                                                          By /s/ R. Balli
                                                          Deputy Clerk

                                                        U.S. District Court
                                                   Eastern District of California


                                                   08/18/05 FILE CLOSED

                    UNITED STATES DISTRICT COURT

                  EASTERN DISTRICT OF CALIFORNIA

JERONIMO A. FUENTES, JR.,

                Plaintiff,
                                        JUDGMENT IN A CIVIL ACTION
vs.
                                                   1:04-CV-6119 AWI
                                                   1:98-CR-6119 AWI
UNITED STATES OF AMERICA

               Defendant.
_______________________________/

               DECISION BY COURT: This action came to trial or
hearing before the Court. The issues have been tried or heard and a
decision has been rendered.
               IT IS HEREBY ORDERED AND ADJUDGED that the Motion
pursuant to 28:2255 is DENIED.


DATED:   August 18, 2005

                                                   JACK L. WAGNER, Clerk


                                                   By:    /s/ R. Balli
                                                          Deputy Clerk
